Case 9:14-cv-80425-BSS Document 442 Entered on FLSD Docket 10/19/2018 Page 1 of 2




                              UNITED STATES DISTRICT COURT
                              SO U TH ER N D IST RIC T O F FLO R ID A

                          CASE NO .9:14-cv-80425-COH N/SELTZER

  EVETT L.SIM MONS,ESQUIRE,in
  hercapacity asGuardian oftheProperty
  ofDontrellStephens,and DONTRELL STEPHENS,

                Plaintiffs,


  R1C BRADSHAW ,in hiscapacity as
  SheriffofPalm Beach County,Florida,and
  DEPUTY SHERIFF ADAM S LIN,individually,

                Defendants.
                                              /

                   O RDER OF DISM ISSAL O F COUNT IAND AM ENDED
                          FINAL JUDG M ENT AS TO CO UNT lII

         THIS CAUSE havingcomebeforetheCourtfollowingajury trialin thismatterwherein
   ajuryreturned averdictin favorofPlaintiffson CountsIand111.1A subsequentappealreversed
   theJudgmentasto Count1and rem anded fora new trial.However,pursuantto the agreem entof

   the parties memorialized in the Stipulation ofDismissalwith Prejudice ofRemaining Claim
   (Count1)Pursuantto 42 U.S.C.Section 1983,Count1ishereby dismissed with prejudice in



   1 PIaintiffs' operative pleading, the Second Amended Complaint (DE 32, 135), i
                                                                                ncluded six counts
   againstDefendants Adams Lin (1tLin'')and Ric Bradshaw,in his capacity as Sheriff of Palm Beach
   County(ivsheriffBradshaw''):
                 1.     42U.S. C.j 1983Violation ofCivilRights(v.Lin)
                 II.    42U.S.C.j l983 Violation ofCivilRights(v.SheriffBradshaw)
                 111.   Battery (v.SheriffBradshaw)
                 IV.    Battery (v.Lin)
                 V.     NegligentUseofFirearm (v.SheriffBradshaw)
                 Vl.    NegligentSupervision,Retention,andTraining(v.SheriffBradshaw)
   Summ ary Judgmentwasentered asto Count11and affirmed on appeal.
   CountsIV and VIwere subsequently withdrawn by Plaintiffs.
Case 9:14-cv-80425-BSS Document 442 Entered on FLSD Docket 10/19/2018 Page 2 of 2



  accordanee with the termsand conditionsofthe parties'agreem ent,with both sidesto beartheir

  own costsand feeswith respectto a11claim sagainstDefendantLin.ltisfurther

         ORDERED and ADJUDGED asfollows;
                Judgmentis entered forPlaintiffs as to Count111. Plaintiffs Evett L.Simm ons,

   Esquire,in hercapacity asGuardian oftheProperty ofDontrellStephens,and DontrellStephens,

   shall recover from the Defendants,Ric Bradshaw,in his capacity as Sheriff of Palm Beach

   County,on the claim ofbattery asalleged in Count1lIofthe Second Am ended Complaint,the

   amountofTwenty-Two M illion FourHundred Thirty-oneThousand EightHundred and Ninety-

   TwoDollarsand FiveCents($22,431,892.05),pluspost-judgmentinterestatthelegalrateasof
   February 25,2016,along with costs,for al1 of which let execution issue, subject to the
   F.S.768.28 cap on dam agesof$200,000 and theclaimsbillprocess.
                Judgm ent is entered in favor of the Defendant Sheriff Bradshaw and against

   Plaintiffson Counts11and V .
                               auderdale,I'lorida,thisï AN
                                                         mayot.october,2018.
                                                                -

          DONEandORDEREDinFortlz                         '

                                                       l
                                            BA RRY S.. LTZER
                                            UN ITED STA ES M AGISTRATE JUDGE


   Copiesfurnishedto:CounselofRecord(viaCM /ECF)




                                                2
